         Case 4:22-cv-01983 Document 15 Filed on 07/25/22 in TXSD Page 1 of 10




                               IN THE UNITED STATES DISTRICT COURT
                               FOR THE SOUTHERN DISTRICT OF TEXAS
                                        HOUSTON DIVISION

    Transatlantica Commodities Pte Ltd.,                     §               Civil Action No: H-22-cv-01983
       Plaintiff                                             §
                                                             §
    v.                                                       §
                                                             §                  In Admiralty under FRCP 9(h)
    Hanwin Shipping Limited,                                 §
      Defendant, and                                         §
                                                             §
    American Shipping & Chartering Corp.,                    §
      Garnishee                                              §

           ANSWER OF GARNISHEE AMERICAN SHIPPING AND CHARTERING
         CORPORATION (“ASCC”) AND MOTION TO VACATE OR MODIFY RULE B
                                   ORDER

           Garnishee ASCC respectfully files and serves its Answer to the Complaint of

Plaintiff/Libellant Transatlantica Commodities Pte., Ltd. (“Transatlantica”). 1 This pleading also

contains ASCC’s Motion to Vacate or Modify the Court’s Rule B Order of June 24, 2022.2

                                              ORIGINAL ANSWER

           1.      Rule 12 Defenses. While reserving the right to more thoroughly brief these issues,

ASCC raises the following defenses under Rule 12 of the Federal Rules of Civil Procedure:

           a.      The Complaint does not properly invoke Admiralty Jurisdiction, as the alleged

“property” to be attached is not the property of Defendant Hanwin Shipping, Limited (“Hanwin”),

and thus cannot constitute grounds for jurisdiction under Federal Rule of Civil Procedure 9(h).

Thus, under Federal Rule of Civil Procedure 12(b)(1), this matter should be dismissed, with

prejudice. ASCC incorporates the grounds stated below in its Motion to Vacate or, Alternatively,

Modify the Rule B Order.



1
    This Answer is timely because of an agreement between counsel for Transatlantica and ASCC.
2
    Document 13.


                                                         1
     Case 4:22-cv-01983 Document 15 Filed on 07/25/22 in TXSD Page 2 of 10




       b.      The Complaint fails to state a claim upon which relief can be granted, and thus

should be dismissed under Federal Rule of Civil Procedure 12(b)(6). Specifically, the Complaint

does not identify the actual “property” with sufficient specificity.

       2.      Specific Denials. Subject to and without waiving the foregoing defenses, ASCC

addresses the specific allegations found in the Complaint as follows:

       a.      ASCC specifically denies the jurisdictional and venue allegations found in

paragraph 1. ASCC has no basis, independent of representations of counsel for Hanwin and

Transatlantica, to admit or deny the existence of an arbitration as described in paragraph 1. Thus,

ASCC denies the remaining jurisdictional allegations in paragraph 1.

       b.      ASCC admits that if the funds in its accounts are Hanwin’s property, venue is

proper in this District and Division as alleged in paragraph 2. However, ASCC denies those funds

are Hanwin’s property, and thus denies the allegations in paragraph 2.

       c.      ASCC admits the allegations in paragraphs 3, 4, and 5.

       d.      ASCC admits it is the agent of Hanwin, but denies using “Hanwin funds” to service

the vessels at issue. Rather, Hanwin electronically transfers money to ASCC’s accounts, where it

is normally co-mingled with other ASCC funds to pay bills for clients as needed. While ASCC

tracks these funds by each client it serves, it does not normally maintain separate accounts for each

client. Thus, ASCC denies those allegations in paragraph 6 as inconsistent with how ASCC

actually does business.

       e.      ASCC admits to the factual assertions made in paragraphs 7 and 8 of the Complaint.

       f.      ASCC denies the allegations found in paragraphs 9 and 10 of the Complaint.

       g.      The allegations in paragraphs 11, 12, and 13 of the Complaint do not pertain to

ASCC. However, ASCC denies them out of an abundance of caution.




                                                  2
     Case 4:22-cv-01983 Document 15 Filed on 07/25/22 in TXSD Page 3 of 10




       h.      ASCC denies the allegations in paragraphs 14, 15, 16, 17, as well as the allegations

made in the Prayer for Relief found in the Complaint.

3.     Affirmative Defenses. Subject to and without waiving the foregoing, ASCC asserts the

following affirmative defenses:

       a.      Lack of privity of contract with Transatlantica.

       b.      ASCC is not a party to the arbitration at issue.

       c.      ASCC asserts a right to any offset and credit from funds garnished or seized by

Transatlantica in any other legal proceeding, including but not limited to:

       i.      Civil Action No. 1:22-cv-01275-RDB currently on file in the District of Maryland,

               Northern Division (“The Baltimore Proceeding”);

       ii.     Civil Action No. 1-cv-22-03348, Transatlantica Commodities Pte Ltd. v. Hanwin

               Shipping, Ltd., et al, in the United States District Court for the District of New

               Jersey, Camden Viscinage Division (“The Camden Proceeding”); and/or

       iii.    Also, Hanwin recently sued Transatlantica in Civil Action No. 1-22-cv-11182,

               Hanwin Shipping Limited v. Transatlantica Commodities Pte, Ltd, in the United

               States District Court for the District of Massachusetts, Boston Division (“The

               Boston Proceeding”).

Upon information and belief, ASCC believes Transatlantica already has approximately

$1,000,000.00 as security from these other lawsuits.

       d.      ASCC asserts the defense of collateral estoppel as to the amount of security at issue.

Transatlantica only seeks $1,984,913.38 in both the Baltimore and Camden Proceedings, and has

not modified or amended its Complaint in the either the Baltimore or Camden Proceeding to seek




                                                 3
     Case 4:22-cv-01983 Document 15 Filed on 07/25/22 in TXSD Page 4 of 10




the amount claimed to be at issue in the instant matter. Thus, the amount of security requested in

this case should be reduced to $1,984,913.38.

                     MOTION TO VACATE OR MODIFY THE RULE B ORDER

       4.      ASCC moves under Supplemental Rule E to vacate the Rule B Order on the

grounds that the alleged property of Hanwin had effectively transferred to ASCC so that ASCC

could pay debts incurred for ASCC’s work as Hanwin’s agent on not only the vessel at issue in

this case, but also other, unrelated vessels under charter to Hanwin. Thus, the funds mentioned in

the Complaint and Rule B Order are not Hanwin’s property, insofar as Hanwin has no control over

the funds or other legal title to it. Moreover, on July 22, 2022, Hanwin filed suit against

Transatlantica in the District of Massachusetts. Thus, Hanwin is now present in a District in the

United States, eliminating the need for a Rule B garnishment in Texas.

Relevant Factual Background

       5.      As the Court is aware from Transatlantica’s briefing, the vessel at issue is the M/V

Tac Imola. Upon information and belief, Transatlantica and Hanwin are currently involved in an

arbitration in London concerning a fire that broke out on the M/V Tac Imola while she transited

from China to the United States. There are no allegations that ASCC had anything to do with

causing or contributing to this fire. Moreover, ASCC is not a party to that arbitration proceeding.

       6.      Currently, ASCC holds $979,893.63 in funds paid to ASCC by Hanwin in a

separate bank account from its main accounts payable account. ASCC owes a total of $924,137.13

to various vendors (stevedores, pilot fees, port fees, terminal fees, sub-agents, port agents, etc.) as

of today for purposes of fulfilling its obligations to Hanwin and Hanwin’s vessels. Of these

figures, $289,549.00 in ASCC’s accounts is present for $204,806.82 in vessel debts related to the




                                                  4
     Case 4:22-cv-01983 Document 15 Filed on 07/25/22 in TXSD Page 5 of 10




M/V Tac Imola. Before the Court issued the Rule B Order, ASCC paid $73,000.00 to Terminal

Shipping as an advance for port expenses and sub-agents on May 25, 2022.

       7.     Normally, ASCC does not separate funds by client. However, ASCC did this, by

agreement with counsel for Transatlantica, so that ASCC could service its other clients and not

arguably violate the Rule B Order. Once ASCC receives a payment from Hanwin, it goes into an

ASCC controlled account. Hanwin no longer has any control or possession of the money. Hanwin

is not a co-signer on ASCC’s accounts. Hanwin has no ability to cut checks or disburse funds

from ASCC’s accounts. The payments from Hanwin are not only used by ASCC to pay bills, but

also part of each transfer constitutes ASCC’s agent fee for the work performed for Hanwin.

       8.     Since the Court issued the Rule B Order on June 24, 2022, ASCC has not received

any further transfers or payments from Hanwin. However, ASCC still has responsibilities to

Hanwin’s vessels. The chart below summarizes the amounts paid by Hanwin to ASCC and what

ASCC owes for each vessel.




                                               5
      Case 4:22-cv-01983 Document 15 Filed on 07/25/22 in TXSD Page 6 of 10




Applicable Law
         9.       The Fifth Circuit noted in the case of Alphamate Commodity GMBH v. CHS

Europe, SA in 2010 that Rule B creates “procedures by which a valid maritime claim may form

the basis for a writ of maritime attachment.”3 Under Rule B, jurisdiction only exists if the court

can attach property of the actual defendant.4 When such property is attached, Supplemental Rule

E(4)(f) allows “any person claiming an interest … to a prompt hearing at which the plaintiff shall

be required to show why the arrest or attachment should not be vacated or other relief granted

consistent with these rules.”5

         10.      In both the Fifth and Second Circuits, the standard for this hearing (in addition to

satisfying the filing and service requirements of Rules B and E) is the plaintiff bears the burden to

show it:

         a.       has a valid prima facie admiralty claim against the defendant;

         b.       cannot find the defendant in the district;

         c.       the defendant’s property can be found within the district; and

         d.       there is no statutory or maritime prohibition on the attachment.

         11.      With the facts stated above in mind, and in light of this applicable law, ASCC

Moves to Vacate the Rule B Order in its entirety, because Transatlantica fails to satisfy elements

(a) and (c), as listed above. The money in ASCC’s accounts is not Hanwin’s property. Hanwin

has no ability to control the money. There is no authority located by the undersigned within this

Circuit to indicate funds paid to an agent by a vessel operator and deposited in the agent’s sole

bank account constitute the property of the vessel operator so as to trigger Rule B jurisdiction.



3
  627 F.3d 183, 186 (5th Cir. 2010), quoting Sonito Shipping Co., Ltd. V. Sun United Mar., Ltd., 478 F. Supp. 2d 532,
536 (S.D. N.Y. 2007) (cleaned up).
4
  Submersible Sys., Inc. v. Perforadora Cent., S.A. de C.V., 249 F.3d 413, 421 (5th Cir. 2001).
5
  Supplemental Rule E(4)(f) (emphasis added).


                                                         6
      Case 4:22-cv-01983 Document 15 Filed on 07/25/22 in TXSD Page 7 of 10




         12.      If anything, this case is analogous to a 2009 decision from the Second Circuit,

Shipping Corp. of India v. Jaldhi Overseas PTE, Ltd.6 In that case, the Second Circuit, in what it

called a “mini en banc” decision,7 over-ruled a prior Second Circuit opinion and held Electronic

Fund Transfers could not be attached when they passed through an intermediary bank located in

New York City.         Holding “if the res is not the property of the defendant, then the court lacks

jurisdiction,”8      the Second Circuit determined a defendant transferring funds through an

intermediary bank did not constitute a transfer of property to trigger Rule B (or Admiralty)

jurisdiction.9

         12.      While not directly on point, Jaldhi is instructive insofar as ASCC is, essentially, an

intermediary akin to an intermediary bank. ASCC pays port fees, pilot fees, and stevedore fees

(among other things) out of the money Hanwin pays to ASCC, and also takes a fee for this service.

The money is already earmarked for someone else, and no one except for ASCC has the ability to

access, control, or spend the money. Under any reasonable interpretation of Admiralty or Texas

law, the money in ASCC’s accounts is ASCC’s – not Hanwin’s property. If there is no property

in the district, there is no jurisdiction per the plain language of Rule B. Thus, the Court lacks

subject-matter jurisdiction under Rule 12(b)(1).

         13.      Moreover, Transatlantica’s alternate grounds for jurisdiction (the Federal

Arbitration Act) is moot because Hanwin made an appearance in federal court, specifically in the

District of Massachusetts. Transatlantica’s claims for arbitration security (which it seeks in the

instant matter through garnishment and attachment) are, under any reasonable reading of Rule

13(a), a compulsory counter-claim that must be brought in that proceeding. If judicial economy


6
  585 F.3d 58 (2d Cir. 2009).
7
  585 F.3d 58, 67, n. 9.
8
  585 F.3d 58, 69.
9
  585 F.3d 58, 71.


                                                    7
     Case 4:22-cv-01983 Document 15 Filed on 07/25/22 in TXSD Page 8 of 10




and comity is considered, Transatlantica should pursue that security directly against Hanwin in

Massachusetts.

        14.     Alternatively, ASCC moves to modify the Order in line with principles of equity.

ASCC is currently unable to service any of Hanwin’s vessels, including those wholly unrelated to

this dispute. Thus, in the alternative, ASCC asks this Honorable Court to allow it to use the funds

present in its account, as outlined in the chart above, to pay for services to the other Hanwin

vessels, while keeping the money for the M/V Tac Imola in a separate account.

                                 REQUEST FOR ORAL HEARING

        15.     ASCC respectfully requests, under Rule E, a prompt hearing at the Court’s earliest

convenience.

                                             PRAYER

        For the above-stated reasons, ASCC requests this Honorable Court vacate the Rule B Order

and dismiss this case, with prejudice, under Rule 12(b)(1) for lack of subject-matter jurisdiction.

ASCC also requests all other relief (at law as well as in equity or admiralty) to which it is justly

and rightly entitled.

                                                     Respectfully submitted,

                                                     CHAMBERLAIN, HRDLICKA, WHITE,
                                                     WILLIAMS & AUGHTRY, P.C.

                                                     By: /s/ F. Daniel Knight
                                                        F. Daniel Knight
                                                        State Bar No. 24041265
                                                        SDTX Bar No.: 37334
                                                        1200 Smith Street, Suite 1400
                                                        Houston, Texas 77002
                                                        (713) 658-2571
                                                        (713) 658-2553 (Fax)
                                                        daniel.knight@chamberlainlaw.com

                                                     ATTORNEYS FOR ASCC



                                                 8
     Case 4:22-cv-01983 Document 15 Filed on 07/25/22 in TXSD Page 9 of 10




                                    CERTIFICATE OF SERVICE

        The undersigned attorney verifies his Firm served a true and correct copy of this document
via Efile Service and/or Email upon the following counsel of record under the Federal Rules of
Civil Procedure and an agreement of the parties on the 25th day of July, 2022.

       J. Stephen Simms
       SIMMS SHOWERS LLP
       201 International Circle, Ste. 230
       Baltimore, Maryland 21030
       jssimms@simmsshowers.com




                                              /s/ F. Daniel Knight
                                             F. DANIEL KNIGHT




                                                9
Case 4:22-cv-01983 Document 15 Filed on 07/25/22 in TXSD Page 10 of 10
